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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 1:23-cv-02297-NYW-KAS

MATTHEW S. LOMAX, Regional Director
of the Twenty-Seventh Region of the National
Labor Relations Board, for and on behalf of the
NATIONAL LABOR RELATIONS BOARD,

                        Petitioner,

 v.

LONGMONT UNITED HOSPITAL AND
CENTURA HEALTH, as a single employer,

                        Respondent.


                         NOTICE OF APPEAL FROM FINAL JUDGMENT


 Petitioner Matthew S. Lomax, for and on behalf of the National Labor Relations Board appeals to

 the United States Court of Appeals for the Tenth Circuit from the final judgment entered on

 November 16, 2023.

 Dated: January 10, 2024 .

                                                         /s/ Noor I. Alam

                                                  Signature
                                                        Noor I. Alam
                                                  Printed Name

                                                         1961 Stout Street, Suite 13-103
                                                  __________________________________________________
                                                  Street Address



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Rev. 12/2021
